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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

DONNICE ROBERTS, Individually, and              §
as NEXT FRIEND OF JOHNNY and                    §
JANIE DOE, minors,                              §
                                                §
               Plaintiffs,                      §
                                                §
v.                                              §     Civil Action No. 6:12-cv-00839-MHS
                                                §
NATIONAL GEOGRAPHIC SOCIETY,                    §
A District of Columbia Corporation;             §
FOX CABLE NETWORKS, INC., a                     §
Delaware Corporation; and FOX                   §
ENTERTAINMENT GROUP, INC., a                    §
Delaware Corporation,                           §
                                                §
               Defendants.                      §


                     JOINT MOTION TO DISMISS WITH PREJUDICE
        In this case, the parties have reached a full and final settlement of all claims asserted in

this action. Accordingly, the parties jointly move this Court to dismiss with prejudice all of

plaintiffs’ claims in their entirety. The parties will bear their own costs, expenses, and attorney

fees.

        A proposed Order accompanies this Motion pursuant to Local Rule CV-7(a).




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    Dated: March 1, 2013
                                        Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       I hereby certify that all parties agree to the relief requested herein and jointly make this

motion.




                                                      Andy Tindel




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of March, 2013, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of the foregoing instrument

via the Court’s CM/ECF filing.




                                                      Andy Tindel




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